CaS€ 1-18-44548-060 DOC 25 Filed 10/26/18 Entered 10/26/18 14212:45

 

UNITED STATES BANKRUPTCY COURT (bf()938)
EASTERN DISTR_ICT OF NEW YORK
-- X
ln re: Chapter 13
NORMA V. ROB[NSON Case No. 1-18-44548
Debtor.
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AFFIDAVIT OF CONTRlBUTION
I, Christopher Beckford , being duly swom, deposes and says:

1. This affidavit is submitted on behalf of rny aunt , Who filed for bankruptcy
protection under Chapter 13 of the United States Bankruptcy Code on August 6, 2018.

2. I am employed as a home health aide. I am able and willing to contribute $1,000.00
monthly income towards my aunt’s household expenses and/ or her Chapter 13 Plan payments

3. A copy of my recent pay stub(S) are attached hereto.

Da:ed: Richmond Hin, NY

October 25, 2018 /s/' Chrz'stogher Becl_cford
Christopher Beckford

Sworn to before me this
25“‘ day of October, 2018

/s/ Bruce Fefnstez`n
Bruce Feinstein
NOTARY PUBLIC

  

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